     Case
      Case2:12-cr-00082-APG-VCF
            2:12-cr-00082-JCM -VCF Document
                                    Document117
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                                                                                 1 of 22




 1    DANIEL G. BOGDEN
      United States Attorney
 2    District of Nevada
      KIMBERLY M. FRAYN
 3    Assistant United States Attorney
      333 Las Vegas Blvd. South
 4    Suite 5000
      Las Vegas, Nevada 89101
 5

 6                            UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
 8
 9                                                 -oOo-
10
      UNITED STATES OF AMERICA,                          )
11                                                       )       2:12-CR-00082-JCM-VCF
           Plaintiff,                                    )
12                                                       )
      v.                                                 )       MOTION TO DISMISS
13                                                       )       INDICTMENT AND QUASH
      ROLANDO MARQUEZ,                                   )       ARREST WARRANT
14                                                       )
         Defendant.                                      )
15    ________________________________                   )

16                      The United States of America by Daniel G. Bogden, United States Attorney for

17    the District of Nevada, and Kimberly M. Frayn, Assistant United States Attorney, requests

18    pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, that the Court enter an

19    order allowing the government to dismiss without prejudice the charges brought against

20    defendant ROLANDO MARQUEZ which are contained in Indictment 2:12-CR-00082-JCM-

21    VCF, and quash the warrant for his arrest.

22                      DATED this _9th__ day of May, 2012.

23                                                 Respectfully submitted,

24                                                 DANIEL G. BOGDEN
                                                   United States Attorney
25

26                                                 /s/ Kimberly M. Frayn
                                                   KIMBERLY M. FRAYN
                                                   Assistant United States Attorney
     Case
      Case2:12-cr-00082-APG-VCF
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                                                                                   2 of 22




 1

 2                            UNITED STATES DISTRICT COURT
 3
                                       DISTRICT OF NEVADA
 4

 5                                                  -oOo-
 6
      UNITED STATES OF AMERICA,                            )
 7                                                         )       2:12-CR-00082-JCM-VCF
           Plaintiff,                                      )
 8                                                         )
      v.                                                   )       ORDER FOR DISMISSAL
 9                                                         )
      ROLANDO MARQUEZ,                                     )
10                                                         )
         Defendant.                                        )
11    ________________________________                     )

12                      Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and upon

13    leave of Court, the United States Attorney for the District of Nevada hereby dismisses

14    without prejudice the charges brought against defendant ROLANDO MARQUEZ that are

15    contained the above-captioned Indictment.

16

17                                                  Respectfully submitted,

18                                                  DANIEL G. BOGDEN
                                                    United States Attorney
19
                                                    /s/ Kimberly M. Frayn
20                                                  KIMBERLY M. FRAYN
                                                    Assistant United States Attorney
21

22                      Leave of Court is granted for the filing of the foregoing dismissal.

23    IT IS FURTHER ORDERED the warrant for ROLANDO MARQUEZ’s arrest is quashed.
                            30th
24               DATED this _______ day of May 2012

25

26                                                  __________________________________
                                                    UNITED STATES DISTRICT JUDGE

                                                       2
